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D.C.
UNITED STATES DISTRICT COURT w BY d
FOR THE WESTERN DISTRICT OF TENNESSEE ; 8
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W%A'SHM` W€&M
Franklin Anderson Davis, III wqu {`wj\l:` g ;.KNPH{S
Plaintiff,
vS. Case No. 05-2396 DP

Arkema, lnc.

Defendants.

 

[‘ER&EB:S=ED-]»-RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference Set by written notice, the following dates are

established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(1)): August 8, 2005
.IOINING PARTIES: September 28, 2005
AMENDING PLEADINGS: September 28, 2005
INITIAL MOTIONS TO DISMISS October 28_, 2005
C()MPLETING ALL DISCOVERY: March 31, 2006

(a) DOCUMENT PRODUCTION March 31, 2006

(b) DEPOSITIONS, INTERROGATORIES
AND REQUESTS FOR ADMISSIONS: March 31, 2006

EXPERT DISCLOSURE (Rule zs(a)(z))=

(1) DISCLOSURE OF PLAINTIFF'S
RULE 26 EXPERT INFORMATION: Decernber 16, 2005

(2) DISCLOSURE OF DEFENDANT'S
RULE 26 EXPERT INFORMATION: January l6, 2006

  

M CDG 890760 v1 Thls document
2616900-007179 07/14/05 - entered an the docket 5
with Rule 58 and/or 79(3) FP.CP on

Case 2:05-cV-02396-BBD-tmp Document 5 Filed 07/26/05 Page 2 of 4 Page|D 11

(3) EXPERT WITNESS DEPOSITIONS: March 31, 2006

FILING DISPOSITIVE MOTIONS: May l, 2006

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection Which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be Waived.

This case is set for jury trial, and the trial is expected to last 5-7 day(s). The pretrial order
date, pretrial conference date, and trial date will be set by the presiding judge.

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation after the close of discovery.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59 and 60 shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however_, without leave of court. If a party believes that a reply is
necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all the parties, or an emergency arises which precludes the matter
from proceeding to trial.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order Will not be modified or
extended.

IT IS SO ORI}ERED.

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UNrrED srA'rEs MAGIsrRArE JUDGE

DATE: ::\`ol,t_a §§ j?»\b§/

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AFPROVED:

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02396 was distributed by fax, mail, or direct printing on
.luly 28, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

